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                             IN THE FEDERAL DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

MICHELLE PETERS,                                 )    Case No.: 8:23-cv-493
                                                 )
                Plaintiff,                       )
vs.                                              )
                                                 )              COMPLAINT
CITY OF OMAHA, MAYOR JEAN                        )            AND JURY DEMAND
STOTHERT, IN HER OFFICIAL AND                    )
INDIVIDUAL CAPACITIES,                           )    Place of Trial: Omaha, Nebraska
DEBORAH SANDER, IN HER                           )
OFFICIAL AND INDIVIDUAL                          )
CAPACITIES,                                      )
                                                 )
                Defendants.                      )


        COMES NOW Plaintiff, Michelle Peters, by and through her attorneys, and for her cause of
action against the City of Omaha, Mayor Jean Stothert, and Deborah Sander, states the following:


                                       I. INTRODUCTION

        1.      This is an action under Title VII of the Civil Rights Act, as Amended, and the
Nebraska Fair Employment Practice Act challenging the City of Omaha’s unlawful discrimination
against Plaintiff, Michelle Peters on the basis of her sex.
        2.      Ms. Peters is a 26-year public servant, who has dedicated her life to the City of
Omaha Law Department. Ms. Peters has handled dozens of jury trials in state and federal court, is
currently the only attorney in the City of Omaha Law Department with federal civil jury trial
experience, and has overseen civil litigation for the City of Omaha for the past decade. During this
time, Ms. Peters was responsible for and gained experience assigning cases, mentoring and advising
less senior attorneys, and assisting in the direction of litigation for the City of Omaha. Ms. Peters is
also responsible for advising the Omaha Police Department, the Parks, Recreation and Public
Property Department, the Omaha Public Library and other city departments on a wide variety of
complex legal issues. Despite Ms. Peters’ qualifications and superior performance in all objective
assessments of the application process for the vacant City Attorney position, the City of Omaha,
through Mayor Jean Stothert, selected a less qualified male candidate for the role.
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                                           II. PARTIES

        2.      Plaintiff Michelle Peters (“Ms. Peters”) is a resident of Douglas County, Omaha,
Nebraska.
        3.      Defendant City of Omaha is a political subdivision in Douglas County, Nebraska
with its central offices at 1819 Farnam Street Omaha, NE 68183.
        4.      At all relevant times, the City of Omaha employed at least fifteen or more employees
for each working day in each of twenty or more calendar week within the appropriate time periods
pursuant to the Nebraska Fair Employment Practices Act and Title VII of the Civil Rights Act of
1964, as Amended.
        5.      During all relevant time periods, the City of Omaha employed more than 500
employees.
        6.      Defendant Mayor Jean Stothert (“Stothert”) is a resident of Douglas County, Omaha
Nebraska. During all relevant times she was the Mayor of the City of Omaha.
        7.      Defendant Deborah Sander (“Sander”) is a resident of Nebraska. During all relevant
times she was the Human Resources Director for the City of Omaha.

                             III. JURISDICTION AND VENUE

        8.      This court has original jurisdiction over Ms. Peters’ claims under Title VII of the
Civil Rights Act, because those claims arise under federal law. This court has supplemental
jurisdiction over Ms. Peters’ state law claims.
        9.      Venue is proper in Douglas County, Nebraska, as it is the county where a substantial
portion of the events at issue occurred.


                              IV. ADMINISTRATIVE PROCESS

        10.     On January 18, 2022, within 300 days of the acts of which she complains, Ms. Peters
dual filed her Charge of Discrimination with the Nebraska Equal Opportunity Commission
(“NEOC”) (Charge No. NEB 1-21/22-2-52490-RS) and Equal Employment Opportunity
Commission (“EEOC”) (Charge No. EEOC 32E-2022-00204).




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        11.     On August 7, 2023, the NEOC issued its determination on Charge No. NEB 1-
21/22-2-52490-RS. Ms. Peters received the NEOC determination on August 11, 2023.
        12.     On September 14, 2023, the EEOC issued its Notice of Right to Sue for Charge No.
32E-2022-00204.


                                V. FACTUAL BACKGROUND

        13.     Ms. Peters is a woman who has worked for the City of Omaha Law Department
(“Law Department”) for 26 years. She has served as an Assistant City Attorney for the City of
Omaha since August 18, 1997. She was promoted to Deputy City Attorney on November 23, 2015.
        14.     On December 11, 2020, City Attorney Paul Kratz retired from his position leading
the Law Department.
        15.     It is Ms. Peters’ belief that Mr. Kratz recommended that the Mayor appoint someone
from outside the Law Department Civil Division to act as interim City Attorney so that no one
currently serving in the Law Department Civil Division would gain an unfair advantage in the hiring
process for Mr. Kratz’s position.
        16.     Mayor Jean Stothert named Matt Kuhse (“Mr. Kuhse”) Interim City Attorney in
January 2021.
        17.     Prior to appointing Mr. Kuhse as Interim City Attorney, the City, through Human
Resources Director, Deb Sander, changed the requirements for the City Attorney position so Mr.
Kuhse could meet the minimum qualifications for the interim role. Specifically, the City changed
several of the “Required Knowledge, Skills and Abilities” of the City Attorney position adding the
phrase “or the ability to lean.” For example, instead of requiring “Knowledge of the City ordinances
and accepted legal and court interpretations;” the requirement was changed to “Knowledge of or the
ability to learn City ordinances and accepted legal and court interpretations.” In addition, they changed
another requirement from “Ability to present and argue cases in court,” to “Ability to supervise and
evaluate presentations and arguments in court.” (emphasis added). Mr. Kuhse had no civil litigation
nor civil trial experience before assuming the Interim City Attorney role. Prior to his appointment as
Interim City Attorney, Mr. Kuhse was the City Prosecutor for the City of Omaha. His prior
experience was in the Douglas County Attorney’s office handling criminal matters only.




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        18.     When Mr. Kuhse first stepped into the Interim City Attorney position, he told Ms.
Peters and her co-worker Bernard in den Bosch, “you’ll have to help me out, because I don’t know
what I’m doing.”
        19.     The City of Omaha originally posted the permanent City Attorney position in
January 2021.
        20.     Ms. Peters applied for the permanent City Attorney position. Mr. Kuhse did not
apply for the position in January 2021. Although there were several qualified applicants for the
position, Mayor Jean Stothert (“Mayor Stothert”) pulled the posting after the application process
had already begun.
        21.     Ms. Peters is not aware of any other situation where the City of Omaha pulled a job
posting for a leadership position where applicants had already submitted applications and Training
and Experience forms had been disseminated.
        22.     The City Attorney position was re-posted in July 2021, and Ms. Peters reapplied.
        23.     Mr. Kuhse applied for the re-posted position, and stated he did so at the strong
urging of Mayor Jean Stothert.
        24.     At the time he applied for the re-posted position, the majority of Mr. Kuhse’s
experience for the position was based on his seven months in the appointed Interim City Attorney
role, a position he lacked the minimum qualifications to assume prior to the City of Omaha
amending the qualifications to allow for Mr. Kuhse’s appointment.
        25.     To Ms. Peters’ knowledge, she ranked first in the application process after
submitting her Training and Experience forms.
        26.     On September 9, 2021, the City of Omaha interviewed Ms. Peters before an all-male
panel, which included Mayor Stothert’s Chiefs of Staff, Tom Warren and Keith Station, as well as
Mayor Stothert’s friend and campaign contributor, John Fullencamp and OPPD Labor Relations
Director Steve Kerrigan.
        27.     After the panel interview and Training and Experience form submission, Ms. Peters
still ranked first out of all candidates for the City Attorney position.
        28.     Ms. Peters sat for a final, personal interview with Mayor Stothert and four others on
September 19, 2021.
        29.     Ms. Peters interviewed strongly and remained the most qualified candidate.




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        30.     Ms. Peters previously served on an interview panel for a position with the City of
Omaha where similar questions were asked the applicant, and Ms. Peters used those questions to
prepare for her interview, so she was well-prepared for all interview questions.
        31.     Nonetheless, on October 7, 2021, HR Director Deb Sander told Ms. Peters that the
City of Omaha selected Mr. Kuhse for the permanent City Attorney position.
        32.     According to Mayor Stothert, she did not want Ms. Peters for the position because
Ms. Peters allegedly failed to make eye contact with Mayor Stothert during the personal interview.
        33.     Ms. Peters is an experienced litigator with extensive jury trial experience. She is also
an instructor at the Omaha Police Academy. She made eye contact with all interviewers, including
Mayor Stothert, during the personal interview.
        34.     Mr. Kuhse would not have been qualified for the position had he not already served
as Interim City Attorney for the previous nine months, as he had no civil litigation experience, had
no experience advising the Mayor, the City Council or any City department except for minor
prosecutorial related issues.
        35.     Ms. Peters was more qualified than Mr. Kuhse for the position because she had
institutional knowledge of the department, extensive civil litigation experience specific to the City of
Omaha, including acting as lead council in multiple civil trials, and already held leadership
responsibilities within the department.
        36.     In hiring a significantly less experienced male candidate for the City Attorney
position, despite Ms. Peters having decades of experience in civil litigation working in the Law
Department, advising the Mayor, City Council, and other city departments, Mayor Stothert and the
City of Omaha discriminated against Ms. Peters based on her sex.
        37.     Ms. Peters continues to serve as Deputy City Attorney in the Law Department.




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                                    VI. CAUSES OF ACTION

                                                 CLAIM I

                VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
                 & NEBRASKA FAIR EMPLOYMENT PRACTICES ACT
              PROHIBITION ON DISCRIMINATION ON THE BASIS OF SEX
                              (Disparate Treatment)

        38.     Plaintiff incorporates paragraphs 1 through 37 by this reference as if fully set forth.
        39.     Title VII of the Civil Rights Act and the Nebraska Fair Employment Practices Act
prohibit discrimination on the basis of sex.
        40.     Ms. Peters is a woman.
        41.     Ms. Peters was qualified and applied for the available City Attorney position twice,
and on both occasions she was the most qualified applicant.
        42.     Ms. Peters is qualified for City Attorney position due to her many years of service, as
reflected in her superior scores on the Training and Experience portion of the application process,
as well as her extensive civil litigation experience.
        43.     Ms. Peters remained the top-ranked candidate based on all objective measures.
        44.     The City of Omaha selected Mr. Kuhse, a man, for the position, despite his lack of
experience in civil litigation, the majority of which he was only able to gain due to the City of
Omaha appointing him to the Interim City Attorney position.
        45.     The City of Omaha’s stated reason for selecting Mr. Kuhse over Ms. Peters – that
Ms. Peters failed to make eye contact during the interview portion of the selection process – is false
and is a pretext for unlawful discrimination.
        WHEREFORE, Plaintiff Michelle Peters demands judgment against Defendant City of
Omaha in an amount which will fully and fairly compensate her for her general and special damages,
for appropriate equitable relief, for interest as allowed by law, for attorneys’ fees, for the costs and
expenses of this action, expert fees, and for such other relief as may be just in the circumstances.




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                                               CLAIM II

                VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
                 & NEBRASKA FAIR EMPLOYMENT PRACTICES ACT
              PROHIBITION ON DISCRIMINATION ON THE BASIS OF SEX
                               (Disparate Impact)

        46.      Plaintiff incorporates paragraphs 1 through 45 by this reference as if fully set forth.
        47.      Title VII of the Civil Rights Act prohibits discrimination based on disparate impact.
        48.      The City of Omaha has a facially neutral employment policy as set forth in Section
23-237 of the Omaha Municipal Code relating to hiring provisional employees. That Section
provides:
              When there is no appropriate list available, or for the purpose of filling
              the position of an employee in the classified service who is on extended
              leave of absence, the director may authorize the provisional appointment
              of a person meeting the prerequisites for the class to which the position
              is allocated. Any such provisional appointment shall terminate not later
              than 30 days after the establishment by the director of an appropriate
              eligibility list. Any time served by an employee under a provisional
              appointment may, with the approval of the director, be deducted from
              the probationary period if the employee is subsequently appointed from a
              list to the same or another position.

        49.      Although facially neutral, when Section 23-237 is applied, it allows a hiring manager
to place an unqualified or minimally qualified person in a provisional/interim/temporary position
for an unspecified period of time, allowing the individual to gain the necessary skills, abilities,
qualifications, and experience for the position. As a result, when the person applies for the posted/
permanent position, they are almost certain to be hired because they have gained the actual
experience by serving in the interim position.
        50.      The practice of provisionally hiring individuals into these interim roles has a
disproportionately adverse impact on women.
        51.      In the City Law Department every provisional appointment over the last ten years
(2013-2023) has been a (white) male and every one of those provisional appointees were ultimately
hired for the permanent position to which they were provisionally appointed.




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        52.     This means Section 23-237 has been applied to provide men an advantage in the
hiring process 100% of the time it has been applied. The men provisionally appointed include:


        Matt Kuhse
        Kevin Slimp
        Phil Kleine
        Jared Dean
        Brent Quandt
        Michael Florence

        53.     Every one of the men identified in the preceding paragraph were placed in
interim/provisional positions and were then selected for the subsequent job opening for a
permanent position. In each instance, one or more women applied for the permanent position, but
were passed over for the man that the City of Omaha appointed to the interim/provisional position.

        WHEREFORE, Plaintiff Michelle Peters prays for judgment against Defendant City of
Omaha in an amount which will fully and fairly compensate her for her general and special damages,
for appropriate equitable relief, for injunctive relief, enjoining Defendants from continuing to apply
Section 23-237 in a way that places women at a disadvantage in the hiring and/or promotional
process, for interest as allowed by law, for attorneys’ fees, for the costs and expenses of this action,
expert fees, and for such other relief as may be just in the circumstances.



                                              CLAIM III

                VIOLATION OF THE EQUAL PROTECTION CLAUSE OF
                      THE UNITED STATES CONSTITUTION
                                (City of Omaha)
        54.     Plaintiff incorporates paragraphs 1 through 53 by this reference as if fully set forth.
        55.     Defendant City of Omaha through its agents, servants, and employees, including but
not limited to, Defendants Mayor Jean Stothert and Deborah Sander, in their official capacities,
established an official policy, practice, or custom of reckless and deliberate indifference regarding
the discriminatory treatment of women in hiring and promotional decisions.
        56.     Defendant City of Omaha discriminated against Plaintiff and others by establishing,
maintaining, and enforcing policies which create or foster discrimination against women.




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        57.      In the alternative, if the discriminatory practice of establishing, maintaining, and
enforcing policies which create or foster discrimination against women in employment were not
official policies, it was a practice, procedure, or custom of which Defendant City of Omaha and its
policy makers had actual or constructive knowledge was discriminatory. Defendant City of Omaha
failed to adequately train employees regarding discrimination and/or ratified the illegal actions of the
employees of the City of Omaha.
        58.      Plaintiff was subject to this official policy or custom while she was employed by the
City of Omaha.
        59.      Defendant City of Omaha’s policy, custom, or practice in general, and as applied to
Amanda in particular, was purposeful and intentional; and/or the Defendant’s policymakers were
aware or should have been aware of the unconstitutional conduct; City of Omaha failed to train its
employees to follow the law; City of Omaha’s policymakers ratified the conduct of their
subordinates; and/or City of Omaha’s policymakers condoned or turned a blind eye to the unlawful
conduct.
        60.      Defendant City of Omaha deprived Plaintiff of her right to be free from sex
discrimination, secured by the Equal Protection Clause of the United States Constitution, which was
clearly established at all times material hereto.

        WHEREFORE, Plaintiff Michelle Peters prays for judgment against Defendant City of
Omaha, in an amount which will fully and fairly compensate her for her injuries and damages, for
attorneys’ fees and costs, for interest as allowed by law, and for such other and further relief as is
just in this case.



                                               CLAIM IV
                     VIOLATION OF THE EQUAL PROTECTION CLAUSE OF
                           THE UNITED STATES CONSTITUTION
                            (Mayor Jean Stothert and Deborah Sander)

        61.      Plaintiff incorporates paragraphs 1 through 60 by this reference as if fully set forth.
        62.      Defendants Mayor Jean Stothert and Deborah Sander, in their individual capacities,
deprived Plaintiff of rights protected by the Equal Protection Clause of the United States
Constitution by establishing, maintaining, or enforcing policies which create or foster a
discriminatory working environment on the basis of sex, by discriminating against women.



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        63.      In the alternative, if the acts complained of were not committed by the individual
Defendants pursuant to an official policy, practice or custom of the Defendant the City of Omaha,
they were committed by Mayor Jean Stothert and Deborah Sander with the purpose and intent of
creating or fostering discriminatory working conditions, by treating women differently than other
similarly situated employees; and/or by turning a blind eye or condoning the illegal conduct of their
subordinates.
        64.      Defendants Mayor Jean Stothert and Deborah Sander acted under color of law and
did not have the discretion to act in an unlawful manner.
        65.      Defendants Mayor Jean Stothert and Deborah Sander deprived Plaintiff of her right
to be free from sex discrimination, secured by the Equal Protection Clause of the United States
Constitution, which was clearly established at all times material hereto.
        66.      Defendants Mayor Jean Stothert and Deborah Sander acted with reckless or
deliberate indifference to the rights of Plaintiff, which were clearly established under the law, and
with malice.
        67.      Plaintiff has been damaged as a direct and proximate result of Defendants Mayor
Jean Stothert’s and Deborah Sander’s acts and omissions.

        WHEREFORE, Plaintiff Michelle Peters prays for judgment against Defendants Mayor Jean
Stothert and Deborah Sander, in an amount which will fully and fairly compensate her for her
injuries and damages, for attorneys’ fees and costs, for interest as allowed by law, and for such other
and further relief as is just in this case.

                                      VII. PRAYER FOR RELIEF
        WHEREFORE, Ms. Peters respectfully requests that this court order Defendant to pay Ms.
Peters back pay, front pay, loss of earning capacity, loss of reputation, compensatory damages,
consequential damages, punitive damages, in amounts to be proven at trial, and all other affirmative
and equitable relief necessary to eradicate the effects of Defendant’s unlawful employment practices;
including a permanent injunction enjoining Defendants from utilizing Section 23-237 in a way that
discriminates based on sex, award Ms. Peters her reasonable attorneys’ fees, expert witness fees, and
costs of this action; and grant such further relief as the Court deems necessary and proper under the
law.




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                        VIII. JURY DEMAND & PLACE OF TRIAL


       Plaintiff requests a trial by jury in Omaha, Nebraska.

Dated this 8th day of November 2023.

                                       MICHELLE PETERS, Plaintiff

                              BY:      s/Alexis S. Mullaney
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